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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK

 BAJAJ GAS AND CONVENIENCE, INC.,              )
 and RANJIT SINGH,                             )
                                               )
               Plaintiffs,                     )
                                               )     7:24-cv-04849-PMH
 vs.                                           )
                                               )
 BP PRODUCTS NORTH AMERICA                     )
 INC.,                                         )
                                               )
               Defendant.                      )

                               [PROPOSED] ORDER TO SEAL

        IT IS HEREBY ORDERED that, upon a finding of good cause, Defendant BP Products

 North America Inc.’s Motion to Seal the redactions identified in Exhibits B and G to its

 Opposition to Motion for Preliminary Injunction is granted.

The Clerk of Court is respectfully directed to terminate the motion sequences pending at Docs. 24-25.

              July 8
 ENTERED: ______________, 2024

               White Plains, New York
                                                     Hon. Philip M. Halpern
                                                     United States District Judge
